                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI
                                    SOUTHERN DIVISION

MARISSA REAMS,                                    )
A/K/A MARISSA GILBERT                             )
                                                  )
                         Plaintiff,               )
                                                  )
          v.                                      )               Case No: 22-3282
                                                  )
TEXAS COUNTY, MISSOURI, ET AL.                    )
                                                  )
                         Defendants.              )

                                       JOINT STATUS REPORT


          COME NOW, parties of the above captioned case, and for their Joint Status Report submit

the following:

          1.      Pursuant to the Court’s order (Doc. 19) the parties are submitting this joint status

report.

          2.      All represented parties conducted mediation on February 15, 2023.

          3.      The parties are still in the process of completing necessary documentation but

anticipate this will result in a joint stipulation for dismissal with prejudice.



                                                  Respectfully submitted,
                                                  KECK & PHILLIPS, L.L.C.

                                                  By       /s/ Damon S. Phillips
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                                                       And James Sigman, In His Individual Capacity

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                                             THE LAW OFFICE OF DANIEL L. ALLEN, LLC

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                                   CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document was sent via

CM/ECF filing system to all parties of record this 3rd day of March 2023.



                                                                    /s/ Damon S. Phillips       ---
                                                                       Damon S. Phillips




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